                                                                                                                     Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 1 of 50



                                                                                                               1   DAMIAN M. MOOS, Bar No. 240030
                                                                                                                   damian.moos@bbklaw.com
                                                                                                               2   NICHOLAS H. PYLE, Bar No. 272466
                                                                                                                   nicholas.pyle@bbklaw.com
                                                                                                               3   DAMIAN A. NORTHCUTT, Bar No. 258183
                                                                                                                   Damian.Northcutt@bbklaw.com
                                                                                                               4   BEST BEST & KRIEGER LLP
                                                                                                                   18101 Von Karman Avenue
                                                                                                               5   Suite 1000
                                                                                                                   Irvine, California 92612
                                                                                                               6   Telephone:      (949) 263-2600
                                                                                                                   Facsimile:      (949) 260-0972
                                                                                                               7
                                                                                                                   Attorneys for Defendants
                                                                                                               8   THE CITY OF ST. HELENA; PLANNING AND
                                                                                                                   BUILDING DIRECTOR MAYA DEROSA; MAYOR
                                                                                                               9   GEOFF ELLSWORTH; CITY ATTORNEY ETHAN
                                                                                                                   WALSH
                                                                                                              10

                                                                                                              11                                          UNITED STATES DISTRICT COURT
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13

                                                                                                              14   PACASO INC., PAC 6 CA 2021 LLC, PAC 5                    Case No. 3:21-CV-02493 WHO
                                                                                                                   CA 2021 LLC, PAC 2 CA 2021 LLC, Napa
                                                                                                              15   120 LLC, SIMON BULL and THE BULL                         DEFENDANTS’ ANSWER TO
                                                                                                                   FAMILY TRUST, TONY ATHANS, MARY                          PLAINTIFFS’ FIRST AMENDED
                                                                                                              16   ATHANS and THE ANTONY JOHN                               COMPLAINT
                                                                                                                   ATHANS REVOCABLE TRUST & MARY
                                                                                                              17   LIAPIS ATHANS REVOCABLE TRUST,                           Action Filed:     April 6, 2021
                                                                                                                   CHAD AMMON, JONATHAN YOUNG and
                                                                                                              18   AMMON-YOUNG REVOCABLE TRUST,
                                                                                                                   DATED 8/12/16, TAYLOR LOPEZ,
                                                                                                              19   CHELSEA LOPEZ, and WILLIAM TREVOR
                                                                                                                   GILLESPIE,
                                                                                                              20
                                                                                                                                            Plaintiffs,
                                                                                                              21
                                                                                                                            v.
                                                                                                              22
                                                                                                                   THE CITY OF ST. HELENA; PLANNING &
                                                                                                              23   BUILDING DIRECTOR MAYA DEROSA;
                                                                                                                   MAYOR GEOFF ELLSWORTH; CITY
                                                                                                              24   ATTORNEY ETHAN WALSH; and DOES 1-
                                                                                                                   5,
                                                                                                              25
                                                                                                                                            Defendants.
                                                                                                              26

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                      -1-                   ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                     Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 2 of 50



                                                                                                               1            Defendants, CITY OF ST. HELENA (“City”), PLANNING & BUILDING DIRECTOR

                                                                                                               2   MAYA DEROSA; MAYOR GEOFF ELLSWORTH; CITY ATTORNEY, and CITY

                                                                                                               3   ATTORNEY ETHAN WALSH (collectively the “City Defendants”) hereby answer Plaintiff

                                                                                                               4   PACASO INC.’s, et al. (collectively “Plaintiffs”) First Amended Complaint for: (1) Declaratory

                                                                                                               5   Judgment: Exemption from Chapter 17.138 ‘Time Share Uses’ and Sections 17.138.060 to Title

                                                                                                               6   17, Zoning, of the St. Helena Municipal Code, and Deleting Section 17.112.130 from the

                                                                                                               7   Municipal Code; (2) Declaratory Judgement: Inapplicability of Chapter 17.138; (3) Selective

                                                                                                               8   Enforcement; (4) Invalid Use of Municipal Authority; (5) Preemption; (6) Due Process Violation;

                                                                                                               9   (7) Unconstitutionally Overbroad; and (8) Violation of the Right of Privacy (“Complaint”), as
                                                                                                              10   follows:

                                                                                                              11                                             INTRODUCTION
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            1.        In answering Paragraph 1, City Defendants deny each and every allegation in
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Paragraph 1.

                                                                                                              14            2.        In answering Paragraph 2, City Defendants deny each and every allegation in

                                                                                                              15   Paragraph 2.

                                                                                                              16            3.        In answering Paragraph 3, City Defendants are without sufficient knowledge or

                                                                                                              17   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              18   deny each and every allegation in Paragraph 3.

                                                                                                              19            4.        In answering Paragraph 4, City Defendants deny each and every allegation in
                                                                                                              20   Paragraph 4.

                                                                                                              21            5.        In answering Paragraph 5, City Defendants are without sufficient knowledge or

                                                                                                              22   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              23   deny each and every allegation in Paragraph 5.

                                                                                                              24            6.        In answering Paragraph 6, City Defendants deny each and every allegation in

                                                                                                              25   Paragraph 6.

                                                                                                              26            7.        In answering Paragraph 7, City Defendants admit that a Report to the City Council

                                                                                                              27   was prepared on July 14, 2020 and that local residents expressed concerns about a residential

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     -2-                   ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                     Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 3 of 50



                                                                                                               1   property, which one of the Plaintiffs owns. City Defendants deny each and every other allegation

                                                                                                               2   in Paragraph 7.

                                                                                                               3            8.        In answering Paragraph 8, to the extent that Plaintiffs have accurately quoted

                                                                                                               4   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                               5   City Defendants deny each and every other allegation in Paragraph 8, including, but not limited

                                                                                                               6   to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert into the July

                                                                                                               7   2020 Report.

                                                                                                               8            9.        In answering Paragraph 9, to the extent that Plaintiffs have accurately quoted

                                                                                                               9   portions of the July 14, 2020 City Council Meeting, City Defendants admit that such statements
                                                                                                              10   were made. City Defendants deny each and every other allegation in Paragraph 9, including, but

                                                                                                              11   not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive or seek to
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   insert into what was said during the July 14, 2020 City Council Meeting.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            10.       In answering Paragraph 10, to the extent that Plaintiffs have accurately quoted

                                                                                                              14   portions of the July 14, 2020 City Council Meeting, City Defendants admit that such statements

                                                                                                              15   were made. City Defendants deny each and every other allegation in Paragraph 10, including, but

                                                                                                              16   not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive or seek to

                                                                                                              17   insert into what was said during the July 14, 2020 City Council Meeting.

                                                                                                              18            11.       In answering Paragraph 11, City Defendants deny each and every allegation in

                                                                                                              19   Paragraph 11.
                                                                                                              20            12.       In answering Paragraph 12, City Defendants are without sufficient knowledge or

                                                                                                              21   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              22   deny each and every allegation in Paragraph 12.

                                                                                                              23            13.       In answering Paragraph 13, City Defendants admit that a new time-share

                                                                                                              24   ordinance codified at Chapter 17.138 has been enacted, replacing Section 17.112.130 from the

                                                                                                              25   St. Helena Municipal Code. City Defendants deny each and every other allegation in Paragraph

                                                                                                              26   13.

                                                                                                              27            14.       In answering Paragraph 14, City Defendants deny each and every allegation in

                                                                                                              28   Paragraph 14.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                      -3-                   ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                     Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 4 of 50



                                                                                                               1            15.       In answering Paragraph 15, City Defendants deny each and every allegation in

                                                                                                               2   Paragraph 15.

                                                                                                               3            16.       In answering Paragraph 16, City Defendants deny each and every allegation in

                                                                                                               4   Paragraph 16.

                                                                                                               5            17.       In answering Paragraph 17, to the extent that Plaintiffs have accurately quoted

                                                                                                               6   Section 17.138.060(A), the City Defendants admit only y that such text is contained in Section

                                                                                                               7   17.138.060(A). City Defendants deny each and every other allegation in Paragraph 17.

                                                                                                               8            18.       In answering Paragraph 18, City Defendants deny each and every allegation in

                                                                                                               9   Paragraph 18.
                                                                                                              10            19.       In answering Paragraph 19, City Defendants deny each and every allegation in

                                                                                                              11   Paragraph 19.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12                                                  PARTIES
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            20.       In answering Paragraph 20, City Defendants are without sufficient knowledge or

                                                                                                              14   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              15   deny each and every allegation in Paragraph 20.

                                                                                                              16            21.       In answering Paragraph 21, City Defendants are without sufficient knowledge or

                                                                                                              17   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              18   deny each and every allegation in Paragraph 21.

                                                                                                              19            22.       In answering Paragraph 22, City Defendants are without sufficient knowledge or
                                                                                                              20   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              21   deny each and every allegation in Paragraph 22.

                                                                                                              22            23.       In answering Paragraph 23, City Defendants are without sufficient knowledge or

                                                                                                              23   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              24   deny each and every allegation in Paragraph 23.

                                                                                                              25            24.       In answering Paragraph 24, City Defendants are without sufficient knowledge or

                                                                                                              26   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              27   deny each and every allegation in Paragraph 24.

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                      -4-                   ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                     Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 5 of 50



                                                                                                               1            25.       In answering Paragraph 25, City Defendants are without sufficient knowledge or

                                                                                                               2   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               3   deny each and every allegation in Paragraph 25.

                                                                                                               4            26.       In answering Paragraph 26, City Defendants are without sufficient knowledge or

                                                                                                               5   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               6   deny each and every allegation in Paragraph 26.

                                                                                                               7            27.       In answering Paragraph 27, City Defendants are without sufficient knowledge or

                                                                                                               8   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               9   deny each and every allegation in Paragraph 27.
                                                                                                              10            28.       In answering Paragraph 28, City Defendants are without sufficient knowledge or

                                                                                                              11   information to form a belief as to the truth of the allegations contained therein, and on that basis,
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   deny each and every allegation in Paragraph 28.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            29.       In answering Paragraph 29, City Defendants are without sufficient knowledge or

                                                                                                              14   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              15   deny each and every allegation in Paragraph 29.

                                                                                                              16            30.       In answering Paragraph 30, City Defendants admit the allegations asserted.

                                                                                                              17            31.       In answering Paragraph 31, City Defendants admit that (i) Defendant Maya

                                                                                                              18   DeRosa is the Planning & Building Director of St. Helena; and (ii) she provides regular staff

                                                                                                              19   support for the City Council and Planning Commission. City Defendants further admit the
                                                                                                              20   quoted portions of the St. Helena Municipal Code, regarding the duties of the Planning &

                                                                                                              21   Building Director, are accurate. Except as admitted, City Defendants deny each and every other

                                                                                                              22   allegation in Paragraph 31, including all allegations that Defendant DeRosa violated the

                                                                                                              23   constitutional rights of Plaintiffs or anyone else.

                                                                                                              24            32.       In answering Paragraph 32, City Defendants admits the first 4 sentences in

                                                                                                              25   Paragraph 32. City Defendants also admit the Mayor is elected at-large to serve a two-year term

                                                                                                              26   as presiding officer at City Council meetings. Except as admitted, City Defendants deny each and

                                                                                                              27   every other allegation in Paragraph 32, including all allegations that Defendant Ellsworth failed to

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     -5-                   ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                        Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 6 of 50



                                                                                                               1   prevent or take action in any manner, or violated the constitutional rights of Plaintiffs or anyone

                                                                                                               2   else.

                                                                                                               3            33.       In answering Paragraph 33, City Defendants admit the first 3 sentences in

                                                                                                               4   Paragraph 33. City Defendants deny each and every other allegation in Paragraph 33, including

                                                                                                               5   all allegations that Defendant Walsh violated the constitutional rights of Plaintiffs or anyone else.

                                                                                                               6            34.       In answering Paragraph 34, City Defendants assert that the allegations contain

                                                                                                               7   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. City

                                                                                                               8   Defendants admit that St. Helena City Council members include Vice Mayor Paul Dohring, Anna

                                                                                                               9   Chouteau, Lester Gardy, and Eric Hall. City Defendants admits that these members have
                                                                                                              10   collectively represented the City Council since November 2020. City Defendants deny that Vice

                                                                                                              11   Mayor Dohring has served on the City Council since 2018. City Defendants admit that Anna
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   Chouteau has served on the City Council since 2018. City Defendants admit that the City
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Council is a legislative and policy-making body for the City of St. Helena. City Defendants

                                                                                                              14   admit that the City Council bears responsibility for setting City policy and for adopting

                                                                                                              15   ordinances, resolutions, and other orders as necessary for governing the City. Except as admitted,

                                                                                                              16   City Defendants deny each and every other allegation in Paragraph 34.

                                                                                                              17                                       JURISDICTION AND VENUE

                                                                                                              18            35.       In answering Paragraph 35, City Defendants assert that the allegations contain

                                                                                                              19   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                                                                                              20   a response is required, City Defendants deny each and every allegation in Paragraph 35.

                                                                                                              21            36.       In answering Paragraph 36, City Defendants assert that the allegations contain

                                                                                                              22   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              23   a response is required, City Defendants deny each and every allegation in Paragraph 36.

                                                                                                              24                                        GENERAL ALLEGATIONS

                                                                                                              25   I.       Pacaso Seeks to Democratize Second Home Ownership In St. Helena
                                                                                                              26            37.       In answering Paragraph 37, City Defendants are without sufficient knowledge or

                                                                                                              27   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              28   deny each and every allegation in Paragraph 37.
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     -6-                   ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                     Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 7 of 50



                                                                                                               1            38.       In answering Paragraph 38, City Defendants are without sufficient knowledge or

                                                                                                               2   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               3   deny each and every allegation in Paragraph 38.

                                                                                                               4            39.       In answering Paragraph 39, City Defendants are without sufficient knowledge or

                                                                                                               5   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               6   deny each and every allegation in Paragraph 39.

                                                                                                               7            40.       In answering Paragraph 40, City Defendants are without sufficient knowledge or

                                                                                                               8   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               9   deny each and every allegation in Paragraph 40.
                                                                                                              10            41.       In answering Paragraph 41, City Defendants are without sufficient knowledge or

                                                                                                              11   information to form a belief as to the truth of the allegations contained therein, and on that basis,
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   deny each and every allegation in Paragraph 41.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            42.       In answering Paragraph 42, City Defendants are without sufficient knowledge or

                                                                                                              14   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              15   deny each and every allegation in Paragraph 42.

                                                                                                              16            43.       In answering Paragraph 43, City Defendants are without sufficient knowledge or

                                                                                                              17   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              18   deny each and every allegation in Paragraph 43.

                                                                                                              19            44.       In answering Paragraph 44, City Defendants are without sufficient knowledge or
                                                                                                              20   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              21   deny each and every allegation in Paragraph 44.

                                                                                                              22   II.      Pacaso Shifts Demand Away From The More Limited Supply Of Affordable Homes
                                                                                                                            and Ensures Second Homes Are Fully Utilized
                                                                                                              23
                                                                                                                            45.       In answering Paragraph 45, City Defendants are without sufficient knowledge or
                                                                                                              24
                                                                                                                   information to form a belief as to the truth of the allegations contained therein, and on that basis,
                                                                                                              25
                                                                                                                   deny each and every allegation in Paragraph 45.
                                                                                                              26

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                    -7-                    ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                     Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 8 of 50



                                                                                                               1            46.       In answering Paragraph 46, City Defendants are without sufficient knowledge or

                                                                                                               2   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               3   deny each and every allegation in Paragraph 46.

                                                                                                               4            47.       In answering Paragraph 47, City Defendants are without sufficient knowledge or

                                                                                                               5   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               6   deny each and every allegation in Paragraph 47.

                                                                                                               7            48.       In answering Paragraph 48, City Defendants are without sufficient knowledge or

                                                                                                               8   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               9   deny each and every allegation in Paragraph 48.
                                                                                                              10            49.       In answering Paragraph 49, City Defendants are without sufficient knowledge or

                                                                                                              11   information to form a belief as to the truth of the allegations contained therein, and on that basis,
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   deny each and every allegation in Paragraph 49.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   III.     In July 2020, The City Attorney And City Council Members Concluded That Section
                                                                                                                            17.112.130 (The Former Time-Share Ordinance) Does Not Regulate Co-Owned
                                                                                                              14            Homes, Conceding That Ordinance Did Not Apply To Pacaso
                                                                                                              15            A.        Overview Of Section 17.112.130, The City’s Prior Time-Share Project Ban
                                                                                                              16            50.       In answering Paragraph 50, to the extent Plaintiffs have accurately quoted the

                                                                                                              17   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              18   Defendants deny each and every other allegation in Paragraph 50.

                                                                                                              19            51.       In answering Paragraph 51, to the extent Plaintiffs have accurately quoted the
                                                                                                              20   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              21   Defendants deny each and every other allegation in Paragraph 51.

                                                                                                              22            52.       In answering Paragraph 52, to the extent Plaintiffs have accurately quoted the

                                                                                                              23   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              24   Defendants deny each and every other allegation in Paragraph 52.

                                                                                                              25            53.       In answering Paragraph 53, to the extent Plaintiffs have accurately quoted the

                                                                                                              26   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              27   Defendants deny each and every other allegation in Paragraph 53.

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                      -8-                   ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                     Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 9 of 50



                                                                                                               1            B.        Under Defendants’ Own Analysis, Section 17.112.130 Did Not Apply To
                                                                                                                                      Pacaso
                                                                                                               2
                                                                                                                            54.       In answering Paragraph 54, City Defendants deny each and every allegation in
                                                                                                               3
                                                                                                                   Paragraph 54.
                                                                                                               4
                                                                                                                            55.       In answering Paragraph 55, to the extent that Plaintiffs have accurately quoted
                                                                                                               5
                                                                                                                   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.
                                                                                                               6
                                                                                                                   Except as admitted, City Defendants deny each and every other allegation in Paragraph 55,
                                                                                                               7
                                                                                                                   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive
                                                                                                               8
                                                                                                                   or seek to insert into what is written in the July 2020 Report.
                                                                                                               9
                                                                                                                            56.       In answering Paragraph 56, to the extent that Plaintiffs have accurately quoted
                                                                                                              10
                                                                                                                   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.
                                                                                                              11
                                                                                                                   Except as admitted, City Defendants deny each and every other allegation in Paragraph 56,
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive
                          ATTORNEYS AT LAW




                                                                                                              13
                                                                                                                   or seek to insert into what is written in the July 2020 Report.
                                                                                                              14
                                                                                                                            57.       In answering Paragraph 57, to the extent that Plaintiffs have accurately quoted
                                                                                                              15
                                                                                                                   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.
                                                                                                              16
                                                                                                                   Except as admitted, City Defendants deny each and every other allegation in Paragraph 57,
                                                                                                              17
                                                                                                                   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive
                                                                                                              18
                                                                                                                   or seek to insert into what is written in the July 2020 Report.
                                                                                                              19
                                                                                                                            58.       In answering Paragraph 58, to the extent that Plaintiffs have accurately quoted
                                                                                                              20
                                                                                                                   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.
                                                                                                              21
                                                                                                                   Except as admitted, City Defendants deny each and every other allegation in Paragraph 58,
                                                                                                              22
                                                                                                                   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive
                                                                                                              23
                                                                                                                   or seek to insert into what is written in the July 2020 Report.
                                                                                                              24
                                                                                                                            59.       In answering Paragraph 59, to the extent that Plaintiffs have accurately quoted
                                                                                                              25
                                                                                                                   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.
                                                                                                              26
                                                                                                                   Except as admitted, City Defendants deny each and every other allegation in Paragraph 59,
                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                      -9-                   ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 10 of 50



                                                                                                               1   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive

                                                                                                               2   or seek to insert into what is written in the July 2020 Report.

                                                                                                               3            60.       In answering Paragraph 60, to the extent that Plaintiffs have accurately quoted who

                                                                                                               4   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the

                                                                                                               5   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each

                                                                                                               6   and every other allegation in Paragraph 60, including, but not limited to, any conclusions,

                                                                                                               7   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the

                                                                                                               8   July 14, 2020 Meeting.

                                                                                                               9            61.       In answering Paragraph 61, to the extent that Plaintiffs have accurately quoted who
                                                                                                              10   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the

                                                                                                              11   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   and every other allegation in Paragraph 61, including, but not limited to, any conclusions,
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the

                                                                                                              14   July 14, 2020 Meeting.

                                                                                                              15            62.       In answering Paragraph 62, to the extent that Plaintiffs have accurately quoted who

                                                                                                              16   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the

                                                                                                              17   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each

                                                                                                              18   and every other allegation in Paragraph 62, including, but not limited to, any conclusions,

                                                                                                              19   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the
                                                                                                              20   July 14, 2020 Meeting.

                                                                                                              21            63.       In answering Paragraph 63, to the extent that Plaintiffs have accurately quoted

                                                                                                              22   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                              23   Except as admitted, City Defendants deny each and every other allegation in Paragraph 63,

                                                                                                              24   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive

                                                                                                              25   or seek to insert into what is written in the July 2020 Report.

                                                                                                              26            64.       In answering Paragraph 64, to the extent that Plaintiffs have accurately quoted

                                                                                                              27   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                              28   Except as admitted, City Defendants deny each and every other allegation in Paragraph 64,
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 10 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 11 of 50



                                                                                                               1   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive

                                                                                                               2   or seek to insert into what is written in the July 2020 Report.

                                                                                                               3            65.       In answering Paragraph 65, to the extent that Plaintiffs have accurately quoted

                                                                                                               4   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                               5   Except as admitted, City Defendants deny each and every other allegation in Paragraph 65,

                                                                                                               6   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive

                                                                                                               7   or seek to insert into what is written in the July 2020 Report.

                                                                                                               8            66.       In answering Paragraph 66, City Defendants are without sufficient knowledge or

                                                                                                               9   information to form a belief as to the truth of the allegations contained therein, and on that basis,
                                                                                                              10   deny each and every allegation in Paragraph 66.

                                                                                                              11            67.       In answering Paragraph 67, to the extent that Plaintiffs have accurately quoted who
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each

                                                                                                              14   and every other allegation in Paragraph 67, including, but not limited to, any conclusions,

                                                                                                              15   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the

                                                                                                              16   July 14, 2020 Meeting.

                                                                                                              17            68.       In answering Paragraph 68, to the extent that Plaintiffs have accurately quoted who

                                                                                                              18   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the

                                                                                                              19   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each
                                                                                                              20   and every other allegation in Paragraph 68, including, but not limited to, any conclusions,

                                                                                                              21   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the

                                                                                                              22   July 14, 2020 Meeting.

                                                                                                              23            C.        Pacaso Was Not A “Time Share Project” Under Section 17.112.130
                                                                                                              24            69.       In answering Paragraph 69, City Defendants deny each and every allegation in

                                                                                                              25   Paragraph 69.

                                                                                                              26            70.       In answering Paragraph 70, City Defendants are without sufficient knowledge or

                                                                                                              27   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              28   deny each and every allegation in Paragraph 70.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 11 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 12 of 50



                                                                                                               1            71.       In answering Paragraph 71, City Defendants deny each and every allegation in

                                                                                                               2   Paragraph 71.

                                                                                                               3            72.       In answering Paragraph 72, to the extent that Plaintiffs have accurately quoted who

                                                                                                               4   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the

                                                                                                               5   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each

                                                                                                               6   and every other allegation in Paragraph 72, including, but not limited to, any conclusions,

                                                                                                               7   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the

                                                                                                               8   July 14, 2020 Meeting.

                                                                                                               9            73.       In answering Paragraph 73, City Defendants are without sufficient knowledge or
                                                                                                              10   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              11   deny each and every allegation in Paragraph 73.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            74.       In answering Paragraph 74, City Defendants are without sufficient knowledge or
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              14   deny each and every allegation in Paragraph 74.

                                                                                                              15            75.       In answering Paragraph 75, City Defendants are without sufficient knowledge or

                                                                                                              16   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              17   deny each and every allegation in Paragraph 75.

                                                                                                              18            76.       In answering Paragraph 76, City Defendants are without sufficient knowledge or

                                                                                                              19   information to form a belief as to the truth of the allegations contained therein, and on that basis,
                                                                                                              20   deny each and every allegation in Paragraph 76.

                                                                                                              21            77.       In answering Paragraph 77, City Defendants assert that the allegations contain

                                                                                                              22   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              23   a response is required, City Defendants deny each and every allegation in Paragraph 77.

                                                                                                              24            D.        Section 17.112.130’s “Findings and Purpose Confirm that the Ordinance Did
                                                                                                                                      Not Apply to Pacaso
                                                                                                              25
                                                                                                                            78.       In answering Paragraph 78, to the extent Plaintiffs have accurately quoted the
                                                                                                              26
                                                                                                                   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City
                                                                                                              27
                                                                                                                   Defendants deny each and every other allegation in Paragraph 78.
                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 12 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 13 of 50



                                                                                                               1            79.       In answering Paragraph 79, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 79.

                                                                                                               4            80.       In answering Paragraph 80, City Defendants assert that the allegations contain

                                                                                                               5   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               6   a response is required, City Defendants deny each and every allegation in Paragraph 80.

                                                                                                               7            81.       In answering Paragraph 81, City Defendants assert that the allegations contain

                                                                                                               8   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               9   a response is required, City Defendants deny each and every allegation in Paragraph 81.
                                                                                                              10            82.       In answering Paragraph 82, City Defendants assert that the allegations contain

                                                                                                              11   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   a response is required, City Defendants deny each and every allegation in Paragraph 82.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            83.       In answering Paragraph 83, City Defendants assert that the allegations contain

                                                                                                              14   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              15   a response is required, City Defendants deny each and every allegation in Paragraph 83.

                                                                                                              16            84.       In answering Paragraph 84, City Defendants assert that the allegations contain

                                                                                                              17   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              18   a response is required, City Defendants deny each and every allegation in Paragraph 84.

                                                                                                              19            85.       In answering Paragraph 85, City Defendants assert that the allegations contain
                                                                                                              20   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              21   a response is required, City Defendants deny each and every allegation in Paragraph 85.

                                                                                                              22            86.       In answering Paragraph 86, City Defendants assert that the allegations contain

                                                                                                              23   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              24   a response is required, City Defendants deny each and every allegation in Paragraph 86.

                                                                                                              25            87.       In answering Paragraph 87, to the extent that Plaintiffs have accurately quoted who

                                                                                                              26   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the

                                                                                                              27   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each

                                                                                                              28   and every other allegation in Paragraph 87, including, but not limited to, any conclusions,
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     - 13 -                ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 14 of 50



                                                                                                               1   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the

                                                                                                               2   July 14, 2020 Meeting.

                                                                                                               3            88.       In answering Paragraph 88, to the extent that Plaintiffs have accurately quoted who

                                                                                                               4   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the

                                                                                                               5   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each

                                                                                                               6   and every other allegation in Paragraph 88, including, but not limited to, any conclusions,

                                                                                                               7   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the

                                                                                                               8   July 14, 2020 Meeting.

                                                                                                               9            89.       In answering Paragraph 89, to the extent that Plaintiffs have accurately quoted who
                                                                                                              10   said what during the July 14, 2020 Meeting, City Defendants admit that the person said the

                                                                                                              11   accurately quoted material during the Meeting. Except as admitted, City Defendants deny each
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   and every other allegation in Paragraph 89, including, but not limited to, any conclusions,
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   meaning or (mis)interpretation that Plaintiffs derive or seek to insert into what was said during the

                                                                                                              14   July 14, 2020 Meeting.

                                                                                                              15            90.       In answering Paragraph 90, City Defendants assert that the allegations contain

                                                                                                              16   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              17   a response is required, City Defendants deny each and every allegation in Paragraph 90.

                                                                                                              18            91.       In answering Paragraph 91, City Defendants assert that the allegations contain

                                                                                                              19   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                                                                                              20   a response is required, City Defendants deny each and every allegation in Paragraph 91.

                                                                                                              21            92.       In answering Paragraph 92, City Defendants assert that the allegations contain

                                                                                                              22   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              23   a response is required, City Defendants deny each and every allegation in Paragraph 92.

                                                                                                              24   IV.      Defendants Communicated To Pacaso The City’s Conclusion That Section
                                                                                                                            17.112.130 Does Not Apply To Pacaso After Having Represented That Pacaso’s
                                                                                                              25            Operations Were Permitted
                                                                                                              26            93.       In answering Paragraph 93, City Defendants admit the allegations asserted.

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     - 14 -                ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 15 of 50



                                                                                                               1            94.       In answering Paragraph 94, City Defendants admit that a response dated May 19,

                                                                                                               2   2020 was sent, and assert that the document speaks for itself. Except as admitted, City

                                                                                                               3   Defendants deny each and every other allegation in Paragraph 94.

                                                                                                               4            95.       In answering Paragraph 95, City Defendants admit that Ms. DeRosa sent a written

                                                                                                               5   response, dated May 22, 2020, and assert that the document speaks for itself. Except as admitted,

                                                                                                               6   City Defendants deny each and every other allegation in Paragraph 95.

                                                                                                               7            96.       In answering Paragraph 96, City Defendants deny each and every allegation in

                                                                                                               8   Paragraph 96.

                                                                                                               9            97.       In answering Paragraph 97, City Defendants admit that a response dated May 26,
                                                                                                              10   2020 was sent, and assert that the document speaks for itself. Except as admitted, City

                                                                                                              11   Defendants deny each and every other allegation in Paragraph 97.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            98.       In answering Paragraph 98, City Defendants deny that the City represented that
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Pacaso’s operations were permitted. City Defendants are without sufficient knowledge or

                                                                                                              14   information to form a belief as to the truth of the remaining allegations contained therein, and on

                                                                                                              15   that basis, deny each and every allegation in Paragraph 98.

                                                                                                              16            99.       In answering Paragraph 99, City Defendants deny that the City represented that

                                                                                                              17   Pacaso’s operations were permitted legal. City Defendants are without sufficient knowledge or

                                                                                                              18   information to form a belief as to the truth of the remaining allegations contained therein, and on

                                                                                                              19   that basis, deny each and every allegation in Paragraph 99.
                                                                                                              20   V.       Despite Its Legal Conclusions That It Cannot Regulate Pacaso, Defendants
                                                                                                                            Nevertheless Proceeded To Unlawfully And Brazenly Enforce Section 17.112.130
                                                                                                              21            Against Pacaso
                                                                                                              22            100.      In answering Paragraph 100, City Defendants assert that the allegations contain

                                                                                                              23   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              24   a response is required, City Defendants deny each and every allegation in Paragraph 100.

                                                                                                              25            101.      In answering Paragraph 101, City Defendants deny each and every allegation in

                                                                                                              26   Paragraph 101.

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     - 15 -                ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 16 of 50



                                                                                                               1            102.      In answering Paragraph 102, City Defendants admit that Ms. DeRosa sent a letter,

                                                                                                               2   dated January 25, 2021, and assert that the document speaks for itself. Except as admitted, City

                                                                                                               3   Defendants deny each and every other allegation in Paragraph 102.

                                                                                                               4            103.      In answering Paragraph 103, City Defendants admit that Pacaso contacted

                                                                                                               5   Ms. DeRosa. City Defendants assert that the other allegations contain Plaintiffs’ legal theories

                                                                                                               6   and/or legal conclusions to which no response is required. To the extent a response is required,

                                                                                                               7   City Defendants deny each and every allegation in Paragraph 103.

                                                                                                               8            104.      In answering Paragraph 104, to the extent that Plaintiffs have accurately quoted

                                                                                                               9   who said what during the February 9, 2021 Meeting, City Defendants admit that such person(s)
                                                                                                              10   said what they are alleged to have said during the meeting. Except as admitted, City Defendants

                                                                                                              11   deny each and every other allegation in Paragraph 104.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            105.      In answering Paragraph 105, City Defendants admit that City Attorney Walsh sent
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   a letter, dated February 10, 2021, and assert that the document speaks for itself. Except as

                                                                                                              14   admitted, City Defendants deny each and every other allegation in Paragraph 105.

                                                                                                              15            106.      In answering Paragraph 106, City Defendants admit that City Attorney Walsh sent

                                                                                                              16   a letter, dated February 10, 2021, and assert that the document speaks for itself. Except as

                                                                                                              17   admitted, City Defendants deny each and every other allegation in Paragraph 106.

                                                                                                              18            107.      In answering Paragraph 107, City Defendants admit that City Attorney Walsh sent

                                                                                                              19   a letter to local real estate agents, dated March 16, 2021, and assert that the document speaks for
                                                                                                              20   itself. Except as admitted, City Defendants deny each and every other allegation in Paragraph

                                                                                                              21   107.

                                                                                                              22            108.      In answering Paragraph 108, City Defendants admit that City Attorney Walsh sent

                                                                                                              23   a letter to local real estate agents, dated March 16, 2021, and assert that the document speaks for

                                                                                                              24   itself. Except as admitted, City Defendants deny each and every other allegation in Paragraph

                                                                                                              25   108.

                                                                                                              26            109.      In answering Paragraph 109, City Defendants assert that the allegations contain

                                                                                                              27   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              28   a response is required, City Defendants deny each and every allegation in Paragraph 109.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 16 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 17 of 50



                                                                                                               1            110.      In answering Paragraph 110, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 110.

                                                                                                               4            111.      In answering Paragraph 111, City Defendants assert that the allegations contain

                                                                                                               5   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               6   a response is required, City Defendants deny each and every allegation in Paragraph 111.

                                                                                                               7            112.      In answering Paragraph 112, City Defendants are without sufficient knowledge or

                                                                                                               8   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               9   deny each and every allegation in Paragraph 112.
                                                                                                              10   VI.      Acknowledging That Section 17.112.130 Was Not A Viable Way To Regulate Pacaso,
                                                                                                                            Defendants Amended The City’s Time-Share Ordinance During The Pendency Of
                                                                                                              11            This Action
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            113.      In answering Paragraph 113, City Defendants admit that Pacaso responded to City
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Attorney Walsh on March 17, 2021 and that City Attorney Walsh did not respond to Pacaso’s

                                                                                                              14   letter by April 1, 2021. City Defendants assert that the remaining allegations contain Plaintiffs’

                                                                                                              15   legal theories and/or legal conclusions to which no response is required. To the extent a response

                                                                                                              16   is required, City Defendants deny each and every other allegation in Paragraph 113.

                                                                                                              17            114.      In answering Paragraph 114, City Defendants admit that a closed session meeting

                                                                                                              18   was held on January 25, 2022. City Defendants assert that the remaining allegations contain

                                                                                                              19   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                                                                                              20   a response is required, City Defendants deny each and every other allegation in Paragraph 114.

                                                                                                              21            115.      In answering Paragraph 115, City Defendants assert that the allegations contain

                                                                                                              22   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              23   a response is required, City Defendants deny each and every allegation in Paragraph 115.

                                                                                                              24            116.      In answering Paragraph 116, City Defendants admit that the City’s Planning

                                                                                                              25   Commission held a meeting on March 1, 2022 to address a report prepared by City Attorney

                                                                                                              26   Walsh and approved by Director DeRosa. City Defendants assert that the March 1, 2022 Report

                                                                                                              27   speaks for itself. Except as admitted, City Defendants deny each and every other allegation in

                                                                                                              28   Paragraph 116.
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     - 17 -                ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 18 of 50



                                                                                                               1            117.      In answering Paragraph 117, City Defendants admit that the City’s Planning

                                                                                                               2   Commission held a meeting on March 1, 2022 to address the proposed ordinance adding Chapter

                                                                                                               3   17.138 and deleting Section 17.112.130 of the St. Helena Municipal Code. Except as admitted,

                                                                                                               4   City Defendants deny each and every other allegation in Paragraph 117.

                                                                                                               5            118.      In answering Paragraph 118, City Defendants admit that Naseem Moeel testified

                                                                                                               6   on behalf of Pacaso and that the Planning Commission voted to recommend the City Council

                                                                                                               7   approve the proposed ordinance. Except as admitted, City Defendants deny each and every other

                                                                                                               8   allegation in Paragraph 118.

                                                                                                               9            119.      In answering Paragraph 119, City Defendants admit that the City Council held a
                                                                                                              10   public hearing on March 22, 2022, on the motion to adopt the proposed ordinance adding Chapter

                                                                                                              11   17.138 and deleting Section 17.112.130 of the St. Helena Municipal Code. City Defendants
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   admit the existence of a March 22, 2022 Report addressing the proposed ordinance adding
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Chapter 17.138 and deleting Section 17.112.130 of the St. Helena Municipal Code. City

                                                                                                              14   Defendants assert that the document/meeting speak for themselves. Except as admitted, City

                                                                                                              15   Defendants deny each and every other allegation in Paragraph 119.

                                                                                                              16            120.      In answering Paragraph 120, City Defendants admit that Naseem Moeel and a

                                                                                                              17   “Pacaso homeowner” testified on behalf of Pacaso at the March 22, 2022 hearing, and that the

                                                                                                              18   City Council voted to entertain a motion on the recommended action. City Defendants assert that

                                                                                                              19   what was said at the meeting speaks for itself. Except as admitted, City Defendants deny each
                                                                                                              20   and every other allegation in Paragraph 120.

                                                                                                              21            121.      In answering Paragraph 121, City Defendants admit that the City Council held a

                                                                                                              22   second public hearing on April 12, 2022, on the motion to adopt the proposed ordinance adding

                                                                                                              23   Chapter 17.138 and deleting Section 17.112.130 of the St. Helena Municipal Code, that “several

                                                                                                              24   Pacaso homeowners” testified, and that the City Council voted to adopt the proposed ordinance.

                                                                                                              25   Except as admitted, City Defendants deny each and every other allegation in Paragraph 121.

                                                                                                              26            122.      In answering Paragraph 122, City Defendants admit the allegations asserted.

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                    - 18 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 19 of 50



                                                                                                               1   VII.     Chapter 17.138 Does Not Apply To Pacaso, As Confirmed By Its Definitions And
                                                                                                                            The City’s Stated Purposes Underlying The Ordinance
                                                                                                               2
                                                                                                                            123.      In answering Paragraph 123, to the extent Plaintiffs have accurately quoted the
                                                                                                               3
                                                                                                                   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that
                                                                                                               4
                                                                                                                   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no
                                                                                                               5
                                                                                                                   response is required. To the extent a response is required, City Defendants deny each and every
                                                                                                               6
                                                                                                                   other allegation in Paragraph 123.
                                                                                                               7
                                                                                                                            124.      In answering Paragraph 124, to the extent Plaintiffs have accurately quoted the
                                                                                                               8
                                                                                                                   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that
                                                                                                               9
                                                                                                                   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no
                                                                                                              10
                                                                                                                   response is required. To the extent a response is required, City Defendants deny each and every
                                                                                                              11
                                                                                                                   other allegation in Paragraph 124.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                            125.      In answering Paragraph 125, to the extent Plaintiffs have accurately quoted the
                          ATTORNEYS AT LAW




                                                                                                              13
                                                                                                                   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that
                                                                                                              14
                                                                                                                   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no
                                                                                                              15
                                                                                                                   response is required. To the extent a response is required, City Defendants deny each and every
                                                                                                              16
                                                                                                                   other allegation in Paragraph 125.
                                                                                                              17
                                                                                                                            126.      In answering Paragraph 126, to the extent Plaintiffs have accurately quoted the
                                                                                                              18
                                                                                                                   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that
                                                                                                              19
                                                                                                                   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no
                                                                                                              20
                                                                                                                   response is required. To the extent a response is required, City Defendants deny each and every
                                                                                                              21
                                                                                                                   other allegation in Paragraph 126.
                                                                                                              22
                                                                                                                            127.      In answering Paragraph 127, to the extent Plaintiffs have accurately quoted the
                                                                                                              23
                                                                                                                   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that
                                                                                                              24
                                                                                                                   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no
                                                                                                              25
                                                                                                                   response is required. To the extent a response is required, City Defendants deny each and every
                                                                                                              26
                                                                                                                   other allegation in Paragraph 127.
                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 19 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 20 of 50



                                                                                                               1            128.      In answering Paragraph 128, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 128.

                                                                                                               4            129.      In answering Paragraph 129, City Defendants assert that the allegations contain

                                                                                                               5   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               6   a response is required, City Defendants deny each and every allegation in Paragraph 129.

                                                                                                               7            130.      In answering Paragraph 130, to the extent Plaintiffs have accurately quoted the

                                                                                                               8   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that

                                                                                                               9   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no
                                                                                                              10   response is required. To the extent a response is required, City Defendants deny each and every

                                                                                                              11   other allegation in Paragraph 130.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            131.      In answering Paragraph 131, City Defendants assert that the allegations contain
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              14   a response is required, City Defendants deny each and every allegation in Paragraph 131.

                                                                                                              15            132.      In answering Paragraph 132, City Defendants assert that the allegations contain

                                                                                                              16   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              17   a response is required, City Defendants deny each and every allegation in Paragraph 132.

                                                                                                              18            133.      In answering Paragraph 133, City Defendants assert that the allegations contain

                                                                                                              19   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                                                                                              20   a response is required, City Defendants deny each and every allegation in Paragraph 133.

                                                                                                              21            134.      In answering Paragraph 134, City Defendants assert that the allegations contain

                                                                                                              22   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              23   a response is required, City Defendants deny each and every allegation in Paragraph 134.

                                                                                                              24            135.      In answering Paragraph 135, City Defendants assert that the allegations contain

                                                                                                              25   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              26   a response is required, City Defendants deny each and every allegation in Paragraph 135.

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 20 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 21 of 50



                                                                                                               1            136.      In answering Paragraph 136, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 136.

                                                                                                               4            137.      In answering Paragraph 137, to the extent that Plaintiffs have accurately quoted

                                                                                                               5   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                               6   Except as admitted, City Defendants deny each and every other allegation in Paragraph 137,

                                                                                                               7   including, but not limited to, any conclusions, meaning or (mis)interpretation that Plaintiffs derive

                                                                                                               8   or seek to insert into what is written in the July 2020 Report.

                                                                                                               9            138.      In answering Paragraph 138, City Defendants assert that the allegations contain
                                                                                                              10   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              11   a response is required, City Defendants deny each and every allegation in Paragraph 138.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            139.      In answering Paragraph 139, City Defendants assert that the allegations contain
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              14   a response is required, City Defendants deny each and every allegation in Paragraph 139.

                                                                                                              15            140.      In answering Paragraph 140, City Defendants assert that the allegations contain

                                                                                                              16   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              17   a response is required, City Defendants deny each and every allegation in Paragraph 140.

                                                                                                              18            141.      In answering Paragraph 141, City Defendants assert that the allegations contain

                                                                                                              19   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                                                                                              20   a response is required, City Defendants deny each and every allegation in Paragraph 141.

                                                                                                              21            142.      In answering Paragraph 142, City Defendants are without sufficient knowledge or

                                                                                                              22   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              23   deny each and every allegation in Paragraph 142.

                                                                                                              24            143.      In answering Paragraph 143, City Defendants assert that the allegations contain

                                                                                                              25   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              26   a response is required, City Defendants deny each and every allegation in Paragraph 143.

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 21 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 22 of 50



                                                                                                               1            144.      In answering Paragraph 144, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 144.

                                                                                                               4            145.      In answering Paragraph 145, City Defendants are without sufficient knowledge or

                                                                                                               5   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               6   deny each and every allegation in Paragraph 145.

                                                                                                               7            146.      In answering Paragraph 146, City Defendants are without sufficient knowledge or

                                                                                                               8   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               9   deny each and every allegation in Paragraph 146.
                                                                                                              10            147.      In answering Paragraph 147, to the extent that Plaintiffs have accurately quoted

                                                                                                              11   statements made during the March 22, 2022 Meeting and/or the April 12, 2022 Meeting, City
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   Defendants admit such statements were made during the respective meetings as alleged. As to
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   the remaining allegations, City Defendants are without sufficient knowledge or information to

                                                                                                              14   form a belief as to the truth of the allegations contained therein, and on that basis, deny each and

                                                                                                              15   every allegation in Paragraph 147.

                                                                                                              16            148.      In answering Paragraph 148, to the extent that Plaintiffs have accurately quoted

                                                                                                              17   statements made during the April 12, 2022 Meeting, City Defendants admit such statements were

                                                                                                              18   made during the meetings as alleged. As to the remaining allegations, City Defendants are

                                                                                                              19   without sufficient knowledge or information to form a belief as to the truth of the allegations
                                                                                                              20   contained therein, and on that basis, deny each and every allegation in Paragraph 148.

                                                                                                              21            149.      In answering Paragraph 149, to the extent that Plaintiffs have accurately quoted

                                                                                                              22   statements made during the April 12, 2022 Meeting, City Defendants admit such statements were

                                                                                                              23   made during the meetings as alleged. As to the remaining allegations, City Defendants are

                                                                                                              24   without sufficient knowledge or information to form a belief as to the truth of the allegations

                                                                                                              25   contained therein, and on that basis, deny each and every allegation in Paragraph 149.

                                                                                                              26            150.      In answering Paragraph 150, City Defendants are without sufficient knowledge or

                                                                                                              27   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              28   deny each and every allegation in Paragraph 150.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 22 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 23 of 50



                                                                                                               1            151.      In answering Paragraph 151, City Defendants are without sufficient knowledge or

                                                                                                               2   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               3   deny each and every allegation in Paragraph 151.

                                                                                                               4            152.      In answering Paragraph 152, City Defendants are without sufficient knowledge or

                                                                                                               5   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               6   deny each and every allegation in Paragraph 152.

                                                                                                               7            153.      In answering Paragraph 153, to the extent that Plaintiffs have accurately quoted

                                                                                                               8   statements made during the April 12, 2022 Meeting, City Defendants admit such statements were

                                                                                                               9   made during the meetings as alleged. As to the remaining allegations, City Defendants are
                                                                                                              10   without sufficient knowledge or information to form a belief as to the truth of the allegations

                                                                                                              11   contained therein, and on that basis, deny each and every allegation in Paragraph 153.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            154.      In answering Paragraph 154, City Defendants assert that the allegations contain
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              14   a response is required, City Defendants deny each and every allegation in Paragraph 154.

                                                                                                              15   VIII. Because Pacaso Homes Were Permissible Under The Previous Section 17.112.130
                                                                                                                         Time-Share Ordinance, Existing Pacaso Homes Are Permitted To Continue
                                                                                                              16         Indefinitely Under the New Chapter 17.138
                                                                                                              17            155.      In answering Paragraph 155, City Defendants deny each and every allegation in

                                                                                                              18   Paragraph 155.

                                                                                                              19            156.      In answering Paragraph 156, City Defendants deny each and every allegation in
                                                                                                              20   Paragraph 156.

                                                                                                              21            157.      In answering Paragraph 157, City Defendants deny each and every allegation in

                                                                                                              22   Paragraph 157.

                                                                                                              23            158.      In answering Paragraph 158, to the extent Plaintiffs have accurately quoted the

                                                                                                              24   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              25   Defendants deny each and every other allegation in Paragraph 158.

                                                                                                              26            159.      In answering Paragraph 159, to the extent Plaintiffs have accurately quoted the

                                                                                                              27   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              28   Defendants deny each and every other allegation in Paragraph 159.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 23 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 24 of 50



                                                                                                               1            160.      In answering Paragraph 160, City Defendants are without sufficient knowledge or

                                                                                                               2   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               3   deny each and every allegation in Paragraph 160.

                                                                                                               4            161.      In answering Paragraph 161, City Defendants deny each and every allegation in

                                                                                                               5   Paragraph 161.

                                                                                                               6            162.      In answering Paragraph 162, City Defendants deny each and every allegation in

                                                                                                               7   Paragraph 162.

                                                                                                               8   IX.      Defendants Intend To Enforce Chapter 17.138, Which Imposes Draconian Fines and
                                                                                                                            Criminal Penalties, Against Plaintiffs, Including St. Helena Homeowners
                                                                                                               9
                                                                                                                            163.      In answering Paragraph 163, City Defendants admit the allegations asserted.
                                                                                                              10
                                                                                                                            164.      In answering Paragraph 164, to the extent that Plaintiffs have accurately quoted the
                                                                                                              11
                                                                                                                   March 2022 Report, City Defendants admit the March 2022 Report reads as alleged. Except as
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                   admitted, City Defendants deny each and every other allegation in Paragraph 164.
                          ATTORNEYS AT LAW




                                                                                                              13
                                                                                                                            165.      In answering Paragraph 165, City Defendants admit that Pacaso sent a letter dated
                                                                                                              14
                                                                                                                   April 13, 2022, which speaks for itself. Except as admitted, City Defendants deny each and every
                                                                                                              15
                                                                                                                   other allegation in Paragraph 165.
                                                                                                              16
                                                                                                                            166.      In answering Paragraph 166, City Defendants admit that Pacaso sent a letter dated
                                                                                                              17
                                                                                                                   April 13, 2022, which speaks for itself. Except as admitted, City Defendants deny each and every
                                                                                                              18
                                                                                                                   other allegation in Paragraph 166.
                                                                                                              19
                                                                                                                            167.      In answering Paragraph 167, City Defendants admit that Pacaso sent a letter dated
                                                                                                              20
                                                                                                                   April 13, 2022, which speaks for itself. Except as admitted, City Defendants deny each and every
                                                                                                              21
                                                                                                                   other allegation in Paragraph 167.
                                                                                                              22
                                                                                                                            168.      In answering Paragraph 168, City Defendants admit that Pacaso sent a letter dated
                                                                                                              23
                                                                                                                   April 13, 2022, which speaks for itself. Except as admitted, City Defendants deny each and every
                                                                                                              24
                                                                                                                   other allegation in Paragraph 168.
                                                                                                              25
                                                                                                                            169.      In answering Paragraph 169, City Defendants admit that the City sent Pacaso a
                                                                                                              26
                                                                                                                   response dated April 21, 2022, which speaks for itself. Except as admitted, City Defendants deny
                                                                                                              27
                                                                                                                   each and every other allegation in Paragraph 169.
                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 24 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 25 of 50



                                                                                                               1            170.      In answering Paragraph 170, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 170.

                                                                                                               4            171.      In answering Paragraph 171, to the extent Plaintiffs have accurately quoted the

                                                                                                               5   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that

                                                                                                               6   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no

                                                                                                               7   response is required. To the extent a response is required, City Defendants deny each and every

                                                                                                               8   other allegation in Paragraph 171.

                                                                                                               9            172.      In answering Paragraph 172, to the extent Plaintiffs have accurately quoted the
                                                                                                              10   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that

                                                                                                              11   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   response is required. To the extent a response is required, City Defendants deny each and every
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   other allegation in Paragraph 172.

                                                                                                              14            173.      In answering Paragraph 173, to the extent Plaintiffs have accurately quoted the

                                                                                                              15   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that

                                                                                                              16   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no

                                                                                                              17   response is required. To the extent a response is required, City Defendants deny each and every

                                                                                                              18   other allegation in Paragraph 173.

                                                                                                              19            174.      In answering Paragraph 174, City Defendants assert that the allegations contain
                                                                                                              20   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              21   a response is required, City Defendants deny each and every allegation in Paragraph 174.

                                                                                                              22   X.       Defendants’ Selective And Arbitrary Enforcement Of The Previous Time-Share
                                                                                                                            Ordinance Against Pacaso, Followed By The March 2022 Report And Proposed
                                                                                                              23            Ordinance Which Targets Pacaso And Was Enacted Solely To Ban Pacaso, Is
                                                                                                                            Impermissible
                                                                                                              24
                                                                                                                            175.      In answering Paragraph 175, City Defendants deny each and every allegation in
                                                                                                              25
                                                                                                                   Paragraph 175.
                                                                                                              26
                                                                                                                            176.      In answering Paragraph 176, City Defendants deny each and every allegation in
                                                                                                              27
                                                                                                                   Paragraph 176.
                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 25 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 26 of 50



                                                                                                               1            177.      In answering Paragraph 177, to the extent that Plaintiffs have accurately quoted

                                                                                                               2   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                               3   Except as admitted, City Defendants deny each and every other allegation in Paragraph 177.

                                                                                                               4            178.      In answering Paragraph 178, to the extent that Plaintiffs have accurately quoted

                                                                                                               5   who said what during the July 14, 2020 meeting, City Defendants admit those persons said what

                                                                                                               6   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in

                                                                                                               7   Paragraph 178, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out

                                                                                                               8   of context what was said during the July 14, 2020 meeting.

                                                                                                               9            179.      In answering Paragraph 179, to the extent that Plaintiffs have accurately quoted
                                                                                                              10   who said what during the July 14, 2020 meeting, City Defendants admit those persons said what

                                                                                                              11   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   Paragraph 179, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   of context what was said during the July 14, 2020 meeting.

                                                                                                              14            180.      In answering Paragraph 180, City Defendants are without sufficient knowledge or

                                                                                                              15   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              16   deny each and every allegation in Paragraph 180.

                                                                                                              17            181.      In answering Paragraph 181, City Defendants deny each and every allegation in

                                                                                                              18   Paragraph 181.

                                                                                                              19            182.      In answering Paragraph 182, City Defendants deny each and every allegation in
                                                                                                              20   Paragraph 182.

                                                                                                              21            183.      In answering Paragraph 183, to the extent that Plaintiffs have accurately quoted

                                                                                                              22   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                              23   alleged. Except as admitted, City Defendants deny each and every other allegation in Paragraph

                                                                                                              24   183.

                                                                                                              25            184.      In answering Paragraph 184, to the extent that Plaintiffs have accurately quoted

                                                                                                              26   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                              27   alleged. Except as admitted, City Defendants deny each and every allegation in Paragraph 184.

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 26 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 27 of 50



                                                                                                               1            185.      In answering Paragraph 185, to the extent that Plaintiffs have accurately quoted

                                                                                                               2   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                               3   alleged. City Defendants are without sufficient knowledge or information to form a belief as to

                                                                                                               4   the truth of the allegations regarding the non-party home-swap or exchange companies, and on

                                                                                                               5   that basis, deny those allegations. Except as admitted, City Defendants deny each and every other

                                                                                                               6   allegation in Paragraph 185.

                                                                                                               7            186.      In answering Paragraph 186, to the extent Plaintiffs have accurately quoted

                                                                                                               8   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                               9   alleged. Except as admitted, City Defendants deny each and every other allegation in Paragraph
                                                                                                              10   186.

                                                                                                              11            187.      In answering Paragraph 187, City Defendants deny each and every allegation in
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   Paragraph 187.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            188.      In answering Paragraph 188, City Defendants deny each and every allegation in

                                                                                                              14   Paragraph 188.

                                                                                                              15            189.      In answering Paragraph 189, to the extent that Plaintiffs have accurately quoted

                                                                                                              16   who said what during the March 2022 meeting, City Defendants admit those persons said what

                                                                                                              17   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in

                                                                                                              18   Paragraph 189, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out

                                                                                                              19   of context what was said during the March 2022 meeting.
                                                                                                              20            190.      In answering Paragraph 190, to the extent that Plaintiffs have accurately quoted

                                                                                                              21   who said what during the April 2022 meeting, City Defendants admit those persons said what

                                                                                                              22   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in

                                                                                                              23   Paragraph 190, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out

                                                                                                              24   of context what was said during the April 2022 meeting.

                                                                                                              25            191.      In answering Paragraph 191, City Defendants assert that the allegations contain

                                                                                                              26   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              27   a response is required, City Defendants deny each and every allegation in Paragraph 191.

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 27 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 28 of 50



                                                                                                               1   XI.      Chapter 17.138 Is Vague, Ambiguous, And Overbroad, And Chills Free Speech

                                                                                                               2            192.      In answering Paragraph 192, City Defendants assert that the allegations contain

                                                                                                               3   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               4   a response is required, City Defendants deny each and every allegation in Paragraph 192.

                                                                                                               5            193.      In answering Paragraph 193, to the extent Plaintiffs have accurately quoted the

                                                                                                               6   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                               7   Defendants deny each and every other allegation in Paragraph 193.

                                                                                                               8            194.      In answering Paragraph 194, City Defendants deny each and every allegation in

                                                                                                               9   Paragraph 194.

                                                                                                              10            195.      In answering Paragraph 195, to the extent that Plaintiffs have accurately quoted

                                                                                                              11   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   alleged. Except as admitted, City Defendants deny each and every other allegation in Paragraph
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   195.

                                                                                                              14            196.      In answering Paragraph 196, City Defendants deny each and every allegation in

                                                                                                              15   Paragraph 196.

                                                                                                              16            197.      In answering Paragraph 197, City Defendants assert that the allegations contain

                                                                                                              17   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              18   a response is required, City Defendants deny each and every allegation in Paragraph 197.

                                                                                                              19            198.      In answering Paragraph 198, to the extent Plaintiffs have accurately quoted the

                                                                                                              20   ordinance, City Defendants admit that the ordinance reads as such. City Defendants assert that

                                                                                                              21   the remaining allegations contain Plaintiffs’ legal theories and/or legal conclusions to which no

                                                                                                              22   response is required. To the extent a response is required, City Defendants deny each and every

                                                                                                              23   other allegation in Paragraph 198.

                                                                                                              24            199.      In answering Paragraph 199, City Defendants assert that the allegations contain

                                                                                                              25   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              26   a response is required, City Defendants deny each and every allegation in Paragraph 199.

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 28 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 29 of 50



                                                                                                               1            200.      In answering Paragraph 200, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 200.

                                                                                                               4            201.      In answering Paragraph 201, City Defendants assert that the allegations contain

                                                                                                               5   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               6   a response is required, City Defendants deny each and every allegation in Paragraph 201.

                                                                                                               7            202.      In answering Paragraph 202, City Defendants assert that the allegations contain

                                                                                                               8   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               9   a response is required, City Defendants deny each and every allegation in Paragraph 202.
                                                                                                              10            203.      In answering Paragraph 203, City Defendants assert that the allegations contain

                                                                                                              11   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   a response is required, City Defendants deny each and every allegation in Paragraph 203.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            204.      In answering Paragraph 204, to the extent that Plaintiffs have accurately quoted

                                                                                                              14   who said what during the April 2022 meeting, City Defendants admit those persons said what

                                                                                                              15   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in

                                                                                                              16   Paragraph 204, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out

                                                                                                              17   of context what was said during the April 2022 meeting.

                                                                                                              18            205.      In answering Paragraph 205, City Defendants assert that the allegations contain

                                                                                                              19   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                                                                                              20   a response is required, City Defendants deny each and every allegation in Paragraph 205.

                                                                                                              21   XII.     Chapter 17.138 Exceeds The Scope Of Permissible Zoning Ordinances Under
                                                                                                                            Government Code § 65850 And Violates Homeowners’ Right Of Privacy And
                                                                                                              22            Freedom Of Association, And Should Also Be Stricken On That Basis
                                                                                                              23            206.      In answering Paragraph 206, City Defendants assert that the allegations contain

                                                                                                              24   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              25   a response is required, City Defendants deny each and every allegation in Paragraph 206.

                                                                                                              26            207.      In answering Paragraph 207, City Defendants assert that the allegations contain

                                                                                                              27   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              28   a response is required, City Defendants deny each and every allegation in Paragraph 207.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 29 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 30 of 50



                                                                                                               1            208.      In answering Paragraph 208, to the extent that Plaintiffs have accurately quoted

                                                                                                               2   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                               3   City Defendants deny each and every other allegation in Paragraph 208, including, but not limited

                                                                                                               4   to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert into the July

                                                                                                               5   2020 Report.

                                                                                                               6            209.      In answering Paragraph 209, City Defendants deny each and every allegation in

                                                                                                               7   Paragraph 209.

                                                                                                               8            210.      In answering Paragraph 210, to the extent that Plaintiffs have accurately quoted

                                                                                                               9   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.
                                                                                                              10   City Defendants deny each and every other allegation in Paragraph 210, including, but not limited

                                                                                                              11   to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert into the July
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   2020 Report.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            211.      In answering Paragraph 211, City Defendants deny each and every allegation in

                                                                                                              14   Paragraph 211.

                                                                                                              15            212.      In answering Paragraph 212, to the extent that Plaintiffs have accurately quoted

                                                                                                              16   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                              17   alleged. City Defendants deny each and every other allegation in Paragraph 212, including, but

                                                                                                              18   not limited to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert

                                                                                                              19   into the March 2022 Report.
                                                                                                              20            213.      In answering Paragraph 213, to the extent that Plaintiffs have accurately quoted

                                                                                                              21   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                              22   City Defendants deny each and every other allegation in Paragraph 213, including, but not limited

                                                                                                              23   to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert into the July

                                                                                                              24   2020 Report.

                                                                                                              25            214.      In answering Paragraph 214, to the extent that Plaintiffs have accurately quoted

                                                                                                              26   who said what during the July 2020 meeting, City Defendants admit those persons said what

                                                                                                              27   Plaintiffs allege. City Defendants deny each and every other allegation in Paragraph 214,

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 30 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 31 of 50



                                                                                                               1   including, but not limited to, any conclusions, meaning or interpretation that Plaintiffs derive or

                                                                                                               2   seek to insert into what was said at the July 2020 meeting.

                                                                                                               3            215.      In answering Paragraph 215, City Defendants assert that the allegations contain

                                                                                                               4   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               5   a response is required, City Defendants deny each and every allegation in Paragraph 215.

                                                                                                               6            216.      In answering Paragraph 216, to the extent that Plaintiffs have accurately quoted

                                                                                                               7   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                               8   alleged. To the extent that Plaintiffs have accurately quoted who said what during the July 2020

                                                                                                               9   meeting, City Defendants admit those persons said what Plaintiffs allege. City Defendants deny
                                                                                                              10   each and every other allegation in Paragraph 216, including, but not limited to, any conclusions,

                                                                                                              11   meaning or interpretation that Plaintiffs derive or seek to insert into the March 2022 Report, or
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   what was said during the July 2020 meeting.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            217.      In answering Paragraph 217, City Defendants assert that the allegations contain

                                                                                                              14   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              15   a response is required, City Defendants deny each and every allegation in Paragraph 217.

                                                                                                              16            218.      In answering Paragraph 218, to the extent that Plaintiffs have accurately quoted

                                                                                                              17   portions of the May 2020 letter and the July 2020 Report, City Defendants admit the letter and the

                                                                                                              18   Report read as alleged. Except as admitted, City Defendants deny each and every other allegation

                                                                                                              19   in Paragraph 218.
                                                                                                              20            219.      In answering Paragraph 219, to the extent that Plaintiffs have accurately quoted

                                                                                                              21   who said what during the July 2020 Meeting, City Defendants admit those persons said what

                                                                                                              22   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in

                                                                                                              23   Paragraph 219, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out

                                                                                                              24   of context what was said during the July 2020 Meeting.

                                                                                                              25            220.      In answering Paragraph 220, to the extent that Plaintiffs have accurately quoted

                                                                                                              26   who said what during the July 2020 Meeting, City Defendants admit those persons said what

                                                                                                              27   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 31 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 32 of 50



                                                                                                               1   Paragraph 220, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out

                                                                                                               2   of context what was said during the July 2020 Meeting.

                                                                                                               3            221.      In answering Paragraph 221, City Defendants assert that the allegations contain

                                                                                                               4   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               5   a response is required, City Defendants deny each and every allegation in Paragraph 221.

                                                                                                               6            222.      In answering Paragraph 222, City Defendants assert that the allegations contain

                                                                                                               7   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               8   a response is required, City Defendants deny each and every allegation in Paragraph 222.

                                                                                                               9   XIII. Defendants’ Enforcement Agenda Against Pacaso Is The Latest Chapter In The
                                                                                                                         City’s Long History Of Exclusion
                                                                                                              10
                                                                                                                            223.      In answering Paragraph 223, City Defendants assert that the allegations contain
                                                                                                              11
                                                                                                                   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12
                                                                                   IRVINE, CALIFORNIA 92612




                                                                                                                   a response is required, City Defendants deny each and every allegation in Paragraph 223.
                          ATTORNEYS AT LAW




                                                                                                              13
                                                                                                                            224.      In answering Paragraph 224, to the extent that Plaintiffs have accurately quoted
                                                                                                              14
                                                                                                                   who said what during the April 2022 meeting, City Defendants admit those persons said what
                                                                                                              15
                                                                                                                   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in
                                                                                                              16
                                                                                                                   Paragraph 224, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out
                                                                                                              17
                                                                                                                   of context what was said during the April 2022 meeting.
                                                                                                              18
                                                                                                                            225.      In answering Paragraph 225, City Defendants deny each and every allegation in
                                                                                                              19
                                                                                                                   Paragraph 225.
                                                                                                              20
                                                                                                                            226.      In answering Paragraph 226, City Defendants admit that the City adopted a
                                                                                                              21
                                                                                                                   General Plan, and assert that the document speaks for itself. Except as admitted, City Defendants
                                                                                                              22
                                                                                                                   deny each and every allegation in Paragraph 226.
                                                                                                              23
                                                                                                                            227.      In answering Paragraph 227, City Defendants deny each and every allegation in
                                                                                                              24
                                                                                                                   Paragraph 227.
                                                                                                              25
                                                                                                                            228.      In answering Paragraph 228, City Defendants deny each and every allegation in
                                                                                                              26
                                                                                                                   Paragraph 228.
                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 32 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 33 of 50



                                                                                                               1            229.      In answering Paragraph 229, City Defendants deny each and every allegation in

                                                                                                               2   Paragraph 229.

                                                                                                               3            230.      In answering Paragraph 230, to the extent that Plaintiffs have accurately quoted

                                                                                                               4   who said what during the April 2022 meeting, City Defendants admit those persons said what

                                                                                                               5   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in

                                                                                                               6   Paragraph 230, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out

                                                                                                               7   of context what was said during the April 2022 meeting.

                                                                                                               8                                                   CLAIM 1

                                                                                                               9           DECLARATORY RELIEF: EXEMPTION FROM CHAPTER 17.138 UNDER
                                                                                                              10          SECTIONS 17.140.010 AND 17.140.020, CALIFORNIA CONSTITUTION, AND

                                                                                                              11                                              COMMON LAW
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12                                           (AGAINST THE CITY)
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            231.      The City Defendants reassert the answers to Paragraphs 1-230.

                                                                                                              14            232.      In answering Paragraph 232, City Defendants assert that the allegations contain

                                                                                                              15   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              16   a response is required, City Defendants deny each and every allegation in Paragraph 232.

                                                                                                              17            233.      In answering Paragraph 233, City Defendants assert that the allegations contain

                                                                                                              18   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              19   a response is required, City Defendants deny each and every allegation in Paragraph 233.
                                                                                                              20            234.      In answering Paragraph 234, City Defendants assert that the allegations contain

                                                                                                              21   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              22   a response is required, City Defendants deny each and every allegation in Paragraph 234.

                                                                                                              23            235.      In answering Paragraph 235, City Defendants admit that Pacaso and PAC 6 CA

                                                                                                              24   brought the current action before Chapter 17.138 was proposed, adopted or enacted, and

                                                                                                              25   Plaintiffs’ claims are set forth in their complaint, which speaks for itself. City Defendants admit

                                                                                                              26   the city enacted Chapter 17.138, which replaced Section 17.112.130, in April 2022. Except as

                                                                                                              27   admitted, City Defendants deny each and every other allegation in Paragraph 235.

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 33 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 34 of 50



                                                                                                               1            236.      In answering Paragraph 236, City Defendants admit that Pacaso wrote a letter

                                                                                                               2   dated April 13, 2022 to the City. City Defendants assert that the letter speaks for itself. Except as

                                                                                                               3   admitted, City Defendants deny each and every other allegation in Paragraph 236.

                                                                                                               4            237.      In answering Paragraph 237, City Defendants admit that the City wrote a letter

                                                                                                               5   dated April 21, 2022 to Pacaso. City Defendants assert that the letter speaks for itself. Except as

                                                                                                               6   admitted, City Defendants deny each and every other allegation in Paragraph 237.

                                                                                                               7            238.      In answering Paragraph 238, City Defendants assert that the allegations contain

                                                                                                               8   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               9   a response is required, City Defendants deny each and every allegation in Paragraph 238.
                                                                                                              10            239.      In answering Paragraph 239, to the extent Plaintiffs have accurately quoted the

                                                                                                              11   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   Defendants deny each and every other allegation in Paragraph 239.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            240.      In answering Paragraph 240, to the extent Plaintiffs have accurately quoted the

                                                                                                              14   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              15   Defendants deny each and every other allegation in Paragraph 240.

                                                                                                              16            241.      In answering Paragraph 241, to the extent Plaintiffs have accurately quoted the

                                                                                                              17   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              18   Defendants deny each and every other allegation in Paragraph 241.

                                                                                                              19            242.      In answering Paragraph 242, City Defendants assert that the allegations contain
                                                                                                              20   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              21   a response is required, City Defendants deny each and every allegation in Paragraph 242.

                                                                                                              22            243.      In answering Paragraph 243, City Defendants are without sufficient knowledge or

                                                                                                              23   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              24   deny each and every allegation in Paragraph 243.

                                                                                                              25            244.      In answering Paragraph 244, City Defendants are without sufficient knowledge or

                                                                                                              26   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              27   deny each and every allegation in Paragraph 244.

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 34 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 35 of 50



                                                                                                               1            245.      In answering Paragraph 245, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 245.

                                                                                                               4            246.      In answering Paragraph 246, to the extent Plaintiffs have accurately quoted the

                                                                                                               5   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                               6   Defendants deny each and every other allegation in Paragraph 246.

                                                                                                               7            247.      In answering Paragraph 247, City Defendants assert that the allegations contain

                                                                                                               8   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               9   a response is required, City Defendants deny each and every allegation in Paragraph 247.
                                                                                                              10            248.      In answering Paragraph 248, City Defendants assert that the allegations contain

                                                                                                              11   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   a response is required, City Defendants deny each and every allegation in Paragraph 248.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            249.      In answering Paragraph 249, City Defendants assert that the allegations contain

                                                                                                              14   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              15   a response is required, City Defendants deny each and every allegation in Paragraph 249.

                                                                                                              16            250.      In answering Paragraph 250, to the extent that Plaintiffs have accurately quoted

                                                                                                              17   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                              18   City Defendants deny each and every other allegation in Paragraph 250, including, but not limited

                                                                                                              19   to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert into the July
                                                                                                              20   2020 Report.

                                                                                                              21            251.      In answering Paragraph 251, City Defendants assert that the allegations contain

                                                                                                              22   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              23   a response is required, City Defendants deny each and every allegation in Paragraph 251.

                                                                                                              24            252.      In answering Paragraph 252, to the extent Plaintiffs have accurately quoted the

                                                                                                              25   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              26   Defendants deny each and every other allegation in Paragraph 252.

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 35 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 36 of 50



                                                                                                               1            253.      In answering Paragraph 253, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 253.

                                                                                                               4            254.      In answering Paragraph 254, City Defendants assert that the allegations contain

                                                                                                               5   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               6   a response is required, City Defendants deny each and every allegation in Paragraph 254.

                                                                                                               7            255.      In answering Paragraph 255, City Defendants assert that the allegations contain

                                                                                                               8   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               9   a response is required, City Defendants deny each and every allegation in Paragraph 255.
                                                                                                              10            256.      In answering Paragraph 256, City Defendants deny each and every allegation in

                                                                                                              11   Paragraph 256.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            257.      In answering Paragraph 257, City Defendants assert that the allegations contain
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              14   a response is required, City Defendants deny each and every allegation in Paragraph 257.

                                                                                                              15            258.      In answering Paragraph 258, City Defendants assert that the allegations contain

                                                                                                              16   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              17   a response is required, City Defendants deny each and every allegation in Paragraph 258.

                                                                                                              18            259.      In answering Paragraph 259, City Defendants deny each and every allegation in

                                                                                                              19   Paragraph 259.
                                                                                                              20            260.      In answering Paragraph 260, City Defendants assert that the allegations contain

                                                                                                              21   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              22   a response is required, City Defendants deny each and every allegation in Paragraph 260.

                                                                                                              23            261.      In answering Paragraph 261, City Defendants assert that the allegations contain

                                                                                                              24   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              25   a response is required, City Defendants deny each and every allegation in Paragraph 261.

                                                                                                              26            262.      In answering Paragraph 262, City Defendants assert that the allegations contain

                                                                                                              27   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              28   a response is required, City Defendants deny each and every allegation in Paragraph 262.
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     - 36 -                ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 37 of 50



                                                                                                               1            263.      In answering Paragraph 263, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 263.

                                                                                                               4            264.      In answering Paragraph 264, City Defendants assert that the allegations contain

                                                                                                               5   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               6   a response is required, City Defendants deny each and every allegation in Paragraph 264.

                                                                                                               7            265.      In answering Paragraph 265, City Defendants assert that the allegations contain

                                                                                                               8   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               9   a response is required, City Defendants deny each and every allegation in Paragraph 265.
                                                                                                              10            266.      In answering Paragraph 266, City Defendants assert that the allegations contain

                                                                                                              11   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   a response is required, City Defendants deny each and every allegation in Paragraph 266.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13                                                   CLAIM 2

                                                                                                              14               DECLARATORY RELIEF: INAPPLICABILITY OF CHAPTER 17.138

                                                                                                              15                                           (AGAINST THE CITY)

                                                                                                              16            267.      The City Defendants reassert the answers to Paragraphs 1-266.

                                                                                                              17            268.      In answering Paragraph 268, City Defendants assert that the allegations contain

                                                                                                              18   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              19   a response is required, City Defendants deny each and every allegation in Paragraph 268.
                                                                                                              20            269.      In answering Paragraph 269, to the extent that Plaintiffs have accurately quoted

                                                                                                              21   portions of the City’s April 2022 letter, City Defendants admit the April 2022 letter reads as

                                                                                                              22   alleged. Except as admitted, City Defendants deny each and every allegation in Paragraph 269.

                                                                                                              23            270.      In answering Paragraph 270, to the extent that Plaintiffs have accurately quoted

                                                                                                              24   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                              25   alleged. City Defendants deny each and every other allegation in Paragraph 270, including, but

                                                                                                              26   not limited to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert

                                                                                                              27   into the March 2022 Report.

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 37 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 38 of 50



                                                                                                               1            271.      In answering Paragraph 271, to the extent Plaintiffs have accurately quoted the

                                                                                                               2   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                               3   Defendants deny each and every other allegation in Paragraph 271.

                                                                                                               4            272.      In answering Paragraph 272, City Defendants assert that the allegations contain

                                                                                                               5   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               6   a response is required, City Defendants deny each and every allegation in Paragraph 272.

                                                                                                               7            273.      In answering Paragraph 273, City Defendants assert that the allegations contain

                                                                                                               8   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               9   a response is required, City Defendants deny each and every allegation in Paragraph 273.
                                                                                                              10            274.      In answering Paragraph 274, City Defendants assert that the allegations contain

                                                                                                              11   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   a response is required, City Defendants deny each and every allegation in Paragraph 274.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            275.      In answering Paragraph 275, City Defendants assert that the allegations contain

                                                                                                              14   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              15   a response is required, City Defendants deny each and every allegation in Paragraph 275.

                                                                                                              16            276.      In answering Paragraph 276, City Defendants assert that the allegations contain

                                                                                                              17   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              18   a response is required, City Defendants deny each and every allegation in Paragraph 276.

                                                                                                              19            277.      In answering Paragraph 277, City Defendants assert that the allegations contain
                                                                                                              20   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              21   a response is required, City Defendants deny each and every allegation in Paragraph 277.

                                                                                                              22            278.      In answering Paragraph 278, City Defendants assert that the allegations contain

                                                                                                              23   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              24   a response is required, City Defendants deny each and every allegation in Paragraph 278.

                                                                                                              25            279.      In answering Paragraph 279, City Defendants assert that the allegations contain

                                                                                                              26   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              27   a response is required, City Defendants deny each and every allegation in Paragraph 279.

                                                                                                              28                                                  CLAIM 3
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 38 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 39 of 50



                                                                                                               1                        SELECTIVE AND DISCRIMINATORY ENFORCEMENT

                                                                                                               2                                      (AGAINST ALL DEFENDANTS)

                                                                                                               3            280.      The City Defendant reasserts the answers to Paragraphs 1-279.

                                                                                                               4            281.      In answering Paragraph 281, City Defendants deny each and every allegation in

                                                                                                               5   Paragraph 281.

                                                                                                               6            282.      In answering Paragraph 282, City Defendants deny each and every allegation in

                                                                                                               7   Paragraph 282.

                                                                                                               8            283.      In answering Paragraph 283, to the extent that Plaintiffs have accurately quoted

                                                                                                               9   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as
                                                                                                              10   alleged. City Defendants deny each and every other allegation in Paragraph 283, including, but

                                                                                                              11   not limited to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   into the March 2022 Report.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            284.      In answering Paragraph 284, City Defendants deny each and every allegation in

                                                                                                              14   Paragraph 284.

                                                                                                              15            285.      In answering Paragraph 285, City Defendants deny each and every allegation in

                                                                                                              16   Paragraph 285.

                                                                                                              17            286.      In answering Paragraph 286, to the extent that Plaintiffs have accurately quoted

                                                                                                              18   who said what during the April 2022 meeting, City Defendants admit those persons said what

                                                                                                              19   Plaintiffs allege. Except as admitted, City Defendants deny each and every other allegation in
                                                                                                              20   Paragraph 286, including any attempts by Plaintiffs to interpret, distort, misconstrue, or take out

                                                                                                              21   of context what was said during the April 2022 meeting.

                                                                                                              22            287.      In answering Paragraph 287, to the extent that Plaintiffs have accurately quoted

                                                                                                              23   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                              24   alleged. City Defendants deny each and every other allegation in Paragraph 287, including, but

                                                                                                              25   not limited to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert

                                                                                                              26   into the March 2022 Report.

                                                                                                              27            288.      In answering Paragraph 288, City Defendants deny each and every allegation in

                                                                                                              28   Paragraph 288.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 39 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 40 of 50



                                                                                                               1            289.      In answering Paragraph 289, City Defendants are without sufficient knowledge or

                                                                                                               2   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               3   deny each and every allegation in Paragraph 289.

                                                                                                               4            290.      In answering Paragraph 290, City Defendants are without sufficient knowledge or

                                                                                                               5   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                               6   deny each and every allegation in Paragraph 290.

                                                                                                               7            291.      In answering Paragraph 291, City Defendants deny each and every allegation in

                                                                                                               8   Paragraph 291.

                                                                                                               9            292.      In answering Paragraph 292, to the extent that Plaintiffs have accurately quoted
                                                                                                              10   portions of the May 22, 2020 letter or July 2020 Report, City Defendants admit the May 22, 2020

                                                                                                              11   latter and July 2020 Report read as quoted. City Defendants deny each and every other allegation
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   in Paragraph 292, including, but not limited to, any conclusions, meaning or interpretation that
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Plaintiffs derive or seek to insert into the May 22, 2020 letter or July 2020 Report.

                                                                                                              14            293.      In answering Paragraph 293, City Defendants deny each and every allegation in

                                                                                                              15   Paragraph 293.

                                                                                                              16            294.      In answering Paragraph 294, City Defendants are without sufficient knowledge or

                                                                                                              17   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              18   deny each and every allegation in Paragraph 294.

                                                                                                              19            295.      In answering Paragraph 295, City Defendants deny each and every allegation in
                                                                                                              20   Paragraph 295.

                                                                                                              21            296.      In answering Paragraph 296, City Defendants deny each and every allegation in

                                                                                                              22   Paragraph 296.

                                                                                                              23            297.      In answering Paragraph 297, City Defendants are without sufficient knowledge or

                                                                                                              24   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              25   deny each and every allegation in Paragraph 297.

                                                                                                              26            298.      In answering Paragraph 298, City Defendants are without sufficient knowledge or

                                                                                                              27   information to form a belief as to the truth of the allegations contained therein, and on that basis,

                                                                                                              28   deny each and every allegation in Paragraph 298.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 40 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 41 of 50



                                                                                                               1            299.      In answering Paragraph 299, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 299.

                                                                                                               4            300.      In answering Paragraph 300, to the extent that Plaintiffs have accurately quoted

                                                                                                               5   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                               6   City Defendants deny each and every other allegation in Paragraph 300, including, but not limited

                                                                                                               7   to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert into the July

                                                                                                               8   2020 Report.

                                                                                                               9            301.      In answering Paragraph 301, City Defendants assert that the allegations contain
                                                                                                              10   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              11   a response is required, City Defendants deny each and every allegation in Paragraph 301.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            302.      In answering Paragraph 302, to the extent that Plaintiffs have accurately quoted
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   who said what during the March 2022 meeting, City Defendants admit those persons said what

                                                                                                              14   Plaintiffs put in quotes. City Defendants deny each and every other allegation in Paragraph 302,

                                                                                                              15   including, but not limited to, any conclusions, meaning or interpretation that Plaintiffs derive or

                                                                                                              16   seek to insert into what was said during the March 2022 meeting.

                                                                                                              17            303.      In answering Paragraph 303, to the extent that Plaintiffs have accurately quoted

                                                                                                              18   who said what during the March 2022 meeting, City Defendants admit those persons said what

                                                                                                              19   Plaintiffs put in quotes. City Defendants deny each and every other allegation in Paragraph 302,
                                                                                                              20   including, but not limited to, any conclusions, meaning or interpretation that Plaintiffs derive or

                                                                                                              21   seek to insert into what was said during the March 2022 meeting.

                                                                                                              22            304.      In answering Paragraph 304, to the extent that Plaintiffs have accurately quoted

                                                                                                              23   portions of the July 2020 Report, City Defendants admit the July 2020 Report reads as alleged.

                                                                                                              24   City Defendants deny each and every other allegation in Paragraph 304, including, but not limited

                                                                                                              25   to, any conclusions, meaning or interpretation that Plaintiffs derive or seek to insert into the July

                                                                                                              26   2020 Report.

                                                                                                              27            305.      In answering Paragraph 305, City Defendants deny each and every allegation in

                                                                                                              28   Paragraph 305.
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 41 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 42 of 50



                                                                                                               1            306.      In answering Paragraph 306, City Defendants deny each and every allegation in

                                                                                                               2   Paragraph 306.

                                                                                                               3            307.      In answering Paragraph 307, City Defendants deny each and every allegation in

                                                                                                               4   Paragraph 307.

                                                                                                               5            308.      In answering Paragraph 308, City Defendants assert that the allegations contain

                                                                                                               6   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               7   a response is required, City Defendants deny each and every allegation in Paragraph 308.

                                                                                                               8                                                  CLAIM 4

                                                                                                               9            DECLARATORY RELIEF: INVALID USE OF MUNICIPAL AUTHORITY
                                                                                                              10                                           (AGAINST THE CITY)

                                                                                                              11            309.      The City Defendants reassert the answers to Paragraphs 1-308.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            310.      In answering Paragraph 310, City Defendants assert that the allegations contain
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              14   a response is required, City Defendants deny each and every allegation in Paragraph 310.

                                                                                                              15            311.      In answering Paragraph 311, City Defendants deny each and every allegation in

                                                                                                              16   Paragraph 311.

                                                                                                              17            312.      In answering Paragraph 312, City Defendants deny each and every allegation in

                                                                                                              18   Paragraph 312.

                                                                                                              19            313.      In answering Paragraph 313, City Defendants deny each and every allegation in
                                                                                                              20   Paragraph 313.

                                                                                                              21            314.      In answering Paragraph 314, City Defendants deny each and every allegation in

                                                                                                              22   Paragraph 314.

                                                                                                              23            315.      In answering Paragraph 315, City Defendants deny each and every allegation in

                                                                                                              24   Paragraph 315.

                                                                                                              25            316.      In answering Paragraph 316, City Defendants deny each and every other allegation

                                                                                                              26   in Paragraph 316.

                                                                                                              27            317.      In answering Paragraph 317, City Defendants deny each and every allegation in

                                                                                                              28   Paragraph 317.
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     - 42 -                ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 43 of 50



                                                                                                               1             318.     In answering Paragraph 318, City Defendants deny each and every allegation in

                                                                                                               2   Paragraph 318.

                                                                                                               3             319.     In answering Paragraph 319, to the extent that Plaintiffs have accurately quoted

                                                                                                               4   portions of the May 2020 letter and the July 2020 Report, City Defendants admit the May 2020

                                                                                                               5   letter and the July 2020 Report read as alleged. City Defendants deny each and every other

                                                                                                               6   allegation in Paragraph 319, including, but not limited to, any conclusions, meaning or

                                                                                                               7   interpretation that Plaintiffs derive or seek to insert into the May 2020 letter and the July 2020

                                                                                                               8   Report.

                                                                                                               9             320.     In answering Paragraph 320, to the extent that Plaintiffs have accurately quoted
                                                                                                              10   portions of the March 2022 Report, City Defendants admit the March 2022 Report reads as

                                                                                                              11   quoted. Except as admitted, City Defendants deny each and every allegation in Paragraph 320.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12             321.     In answering Paragraph 321, City Defendants assert that the allegations contain
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              14   a response is required, City Defendants deny each and every allegation in Paragraph 321.

                                                                                                              15                                                   CLAIM 5

                                                                                                              16                    DECLARATORY RELIEF: CHAPTER 17.138 IS PREEMPTED

                                                                                                              17                                           (AGAINST THE CITY)

                                                                                                              18             322.     The City Defendants reasserts the answers to Paragraphs 1-321.

                                                                                                              19             323.     In answering Paragraph 323, City Defendants assert that the Court entered an
                                                                                                              20   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to

                                                                                                              21   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              22   allegation in Paragraph 323.

                                                                                                              23             324.     In answering Paragraph 324, City Defendants assert that the Court entered an

                                                                                                              24   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to

                                                                                                              25   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              26   allegation in Paragraph 324.

                                                                                                              27             325.     In answering Paragraph 325, City Defendants assert that the Court entered an

                                                                                                              28   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 43 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 44 of 50



                                                                                                               1   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                               2   allegation in Paragraph 325.

                                                                                                               3            326.      In answering Paragraph 326, City Defendants assert that the Court entered an

                                                                                                               4   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to

                                                                                                               5   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                               6   allegation in Paragraph 326.

                                                                                                               7            327.      In answering Paragraph 327, City Defendants assert that the Court entered an

                                                                                                               8   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to

                                                                                                               9   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every
                                                                                                              10   allegation in Paragraph 327.

                                                                                                              11            328.      In answering Paragraph 328, City Defendants assert that the Court entered an
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              14   allegation in Paragraph 328.

                                                                                                              15            329.      In answering Paragraph 329, City Defendants assert that the Court entered an

                                                                                                              16   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to

                                                                                                              17   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              18   allegation in Paragraph 329.

                                                                                                              19            330.      In answering Paragraph 330, City Defendants assert that the Court entered an
                                                                                                              20   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to

                                                                                                              21   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              22   allegation in Paragraph 330.

                                                                                                              23            331.      In answering Paragraph 331, City Defendants assert that the Court entered an

                                                                                                              24   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to

                                                                                                              25   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              26   allegation in Paragraph 331.

                                                                                                              27            332.      In answering Paragraph 332, City Defendants assert that the Court entered an

                                                                                                              28   Order on September 26, 2022, dismissing Claim 5 with prejudice. Accordingly, no response to
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                    - 44 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 45 of 50



                                                                                                               1   Claim 5 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                               2   allegation in Paragraph 332.

                                                                                                               3                                                  CLAIM 6

                                                                                                               4   DUE PROCESS VIOLATION: CHAPTER 17.138 IS UNCONSTITUTIONALLY VAGUE

                                                                                                               5               AND AMBIGUOUS ON ITS FACE AND AS APPLIED TO PLAINTIFFS

                                                                                                               6                                     (AGAINST ALL DEFENDANTS)

                                                                                                               7            333.      The City Defendants reasserts the answers to Paragraphs 1-332.

                                                                                                               8            334.      In answering Paragraph 334, City Defendants assert that the Court entered an

                                                                                                               9   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to
                                                                                                              10   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              11   allegation in Paragraph 334.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12            335.      In answering Paragraph 335, City Defendants assert that the Court entered an
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              14   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              15   allegation in Paragraph 335.

                                                                                                              16            336.      In answering Paragraph 336, City Defendants assert that the Court entered an

                                                                                                              17   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              18   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              19   allegation in Paragraph 336.
                                                                                                              20            337.      In answering Paragraph 337, City Defendants assert that the Court entered an

                                                                                                              21   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              22   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              23   allegation in Paragraph 337.

                                                                                                              24            338.      In answering Paragraph 338, City Defendants assert that the Court entered an

                                                                                                              25   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              26   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              27   allegation in Paragraph 338.

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                    - 45 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 46 of 50



                                                                                                               1            339.      In answering Paragraph 339, City Defendants assert that the Court entered an

                                                                                                               2   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                               3   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                               4   allegation in Paragraph 339.

                                                                                                               5            340.      In answering Paragraph 340, City Defendants assert that the Court entered an

                                                                                                               6   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                               7   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                               8   allegation in Paragraph 340.

                                                                                                               9            341.      In answering Paragraph 341, City Defendants assert that the Court entered an
                                                                                                              10   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              11   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   allegation in Paragraph 341.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            342.      In answering Paragraph 342, City Defendants assert that the Court entered an

                                                                                                              14   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              15   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              16   allegation in Paragraph 342.

                                                                                                              17            343.      In answering Paragraph 343, City Defendants assert that the Court entered an

                                                                                                              18   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              19   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every
                                                                                                              20   allegation in Paragraph 343.

                                                                                                              21            344.      In answering Paragraph 344, City Defendants assert that the Court entered an

                                                                                                              22   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              23   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              24   allegation in Paragraph 344.

                                                                                                              25            345.      In answering Paragraph 345, City Defendants assert that the Court entered an

                                                                                                              26   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              27   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              28   allegation in Paragraph 345.
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                    - 46 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 47 of 50



                                                                                                               1            346.      In answering Paragraph 346, City Defendants assert that the Court entered an

                                                                                                               2   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                               3   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                               4   allegation in Paragraph 346.

                                                                                                               5            347.      In answering Paragraph 347, City Defendants assert that the Court entered an

                                                                                                               6   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                               7   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                               8   allegation in Paragraph 347.

                                                                                                               9            348.      In answering Paragraph 348, City Defendants assert that the Court entered an
                                                                                                              10   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              11   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   allegation in Paragraph 348.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            349.      In answering Paragraph 349, City Defendants assert that the Court entered an

                                                                                                              14   Order on September 26, 2022, dismissing Claim 6 with prejudice. Accordingly, no response to

                                                                                                              15   Claim 6 is necessary. To the extent a response is necessary, City Defendants deny each and every

                                                                                                              16   allegation in Paragraph 349.

                                                                                                              17                                                  CLAIM 7

                                                                                                              18          CHAPTER 17.138 IS UNCONSTITUTIONALLY OVERBROAD ON ITS FACE

                                                                                                              19                                           (AGAINST THE CITY)
                                                                                                              20            350.      The City Defendants reasserts the answers to Paragraphs 1-349.

                                                                                                              21            351.      In answering Paragraph 351, City Defendants assert that the allegations contain

                                                                                                              22   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              23   a response is required, City Defendants deny each and every allegation in Paragraph 351.

                                                                                                              24            352.      In answering Paragraph 352, to the extent Plaintiffs have accurately quoted the

                                                                                                              25   ordinance, City Defendants admit that the ordinance reads as such. Except as admitted, City

                                                                                                              26   Defendants deny each and every other allegation in Paragraph 352.

                                                                                                              27

                                                                                                              28
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 47 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 48 of 50



                                                                                                               1            353.      In answering Paragraph 353, City Defendants assert that the allegations contain

                                                                                                               2   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               3   a response is required, City Defendants deny each and every allegation in Paragraph 353.

                                                                                                               4            354.      In answering Paragraph 354, City Defendants assert that the allegations contain

                                                                                                               5   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               6   a response is required, City Defendants deny each and every allegation in Paragraph 354.

                                                                                                               7            355.      In answering Paragraph 355, City Defendants assert that the allegations contain

                                                                                                               8   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                               9   a response is required, City Defendants deny each and every allegation in Paragraph 355.
                                                                                                              10            356.      In answering Paragraph 356, City Defendants assert that the allegations contain

                                                                                                              11   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12   a response is required, City Defendants deny each and every allegation in Paragraph 356.
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            357.      In answering Paragraph 357, City Defendants assert that the allegations contain

                                                                                                              14   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              15   a response is required, City Defendants deny each and every allegation in Paragraph 357.

                                                                                                              16                                                  CLAIM 8

                                                                                                              17                               VIOLATION OF THE RIGHT OF PRIVACY

                                                                                                              18                                           (AGAINST THE CITY)

                                                                                                              19            358.      The City Defendants reasserts the answers to Paragraphs 1-357.
                                                                                                              20            359.      In answering Paragraph 359, City Defendants assert that the allegations contain

                                                                                                              21   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              22   a response is required, City Defendants deny each and every allegation in Paragraph 359.

                                                                                                              23            360.      In answering Paragraph 360, City Defendants assert that the allegations contain

                                                                                                              24   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              25   a response is required, City Defendants deny each and every allegation in Paragraph 360.

                                                                                                              26            361.      In answering Paragraph 361, City Defendants assert that the allegations contain

                                                                                                              27   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              28   a response is required, City Defendants deny each and every allegation in Paragraph 361.
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     - 48 -                ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 49 of 50



                                                                                                               1            362.      In answering Paragraph 362, City Defendants deny each and every allegation in

                                                                                                               2   Paragraph 362.

                                                                                                               3            363.      In answering Paragraph 363, City Defendants deny each and every allegation in

                                                                                                               4   Paragraph 363.

                                                                                                               5            364.      In answering Paragraph 364, City Defendants deny each and every allegation in

                                                                                                               6   Paragraph 364.

                                                                                                               7            365.      In answering Paragraph 365, City Defendants deny each and every allegation in

                                                                                                               8   Paragraph 365.

                                                                                                               9            366.      In answering Paragraph 366, City Defendants assert that the allegations contain
                                                                                                              10   Plaintiffs’ legal theories and/or legal conclusions to which no response is required. To the extent

                                                                                                              11   a response is required, City Defendants deny each and every allegation in Paragraph 366.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12                                        AFFIRMATIVE DEFENSES
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13            City Defendants assert the following affirmative defenses against each and every claim

                                                                                                              14   and cause of action alleged by Plaintiffs. By asserting the following defenses, City Defendants do

                                                                                                              15   not assume the burden of proof on any essential element of Plaintiffs’ claims.

                                                                                                              16                                     FIRST AFFIRMATIVE DEFENSE

                                                                                                              17                                        (Privileged Communications)

                                                                                                              18            City Defendants incorporate by reference the answers and allegations stated above. As a

                                                                                                              19   separate and affirmative defense, City Defendants allege that no relief may be obtained under one
                                                                                                              20   or more Claims in the Complaint because Plaintiffs’ claims are based on privileged

                                                                                                              21   communications. To the extent that Plaintiffs’ claims are based in whole or in part on

                                                                                                              22   communications or recommendations made by any of the City Defendants, including, but not

                                                                                                              23   limited to, letters sent on May 15, 2020, May 22, 2020, January 25, 2021, February 10, 2021,

                                                                                                              24   March 16, 2021, as well as the adoption of the City’s current time-share ordinance, then the City

                                                                                                              25   Defendants allege that such acts and communications are privileged on the ground that they

                                                                                                              26   constitute (i) acts in furtherance of City employees’ exercise of official duties, (ii) acts conducted

                                                                                                              27   in connection with an official proceeding (including, but not limited to, a potential enforcement

                                                                                                              28   action), and/or (iii) acts that concerned a matter of common interest. As such, these acts and/or
                                                                                                                   83578.00112\40675067.1                                                          3:21-CV-02493 WHO
                                                                                                                                                                     - 49 -                ANSWER TO FIRST AMENDED
                                                                                                                                                                                                          COMPLAINT
                                                                                                                    Case 3:21-cv-02493-WHO Document 61 Filed 10/18/22 Page 50 of 50



                                                                                                               1   communications are privileged under the official duty privilege, official proceeding privilege

                                                                                                               2   and/or common interest privilege set forth in California Civil Code § 47.

                                                                                                               3                                   SECOND AFFIRMATIVE DEFENSE

                                                                                                               4                  (Lack of Standing – Article III Standing and/or Real Party in Interest)

                                                                                                               5             City Defendants incorporate by reference the answers and allegations stated above. As a

                                                                                                               6   separate and affirmative defense to one or more claims made in the Complaint, City Defendants

                                                                                                               7   allege that one or more of the Plaintiffs lacks Article III standing and/or is not the real party in

                                                                                                               8   interest. City Defendants are informed and believe, and based thereon allege, that the Pacaso

                                                                                                               9   Homes are owned by limited liability companies, and not directly owned by any of the “Pacaso
                                                                                                              10   Homeowner” Plaintiffs. Consequently, City Defendants allege that one or more of the “Pacaso

                                                                                                              11   Homeowner” Plaintiffs lacks Article III standing and/or is not a real party in interest.
                                             18101 VON KARMAN AVENUE, SUITE 1000
BEST BEST & KRIEGER LLP




                                                                                                              12                                           PRAYER FOR RELIEF
                                                                                   IRVINE, CALIFORNIA 92612
                          ATTORNEYS AT LAW




                                                                                                              13             WHEREFORE, Defendant prays that:

                                                                                                              14             1.       That the First Amended Complaint be dismissed with prejudice;

                                                                                                              15             2.       That Plaintiffs take nothing by this proceeding;

                                                                                                              16             3.       That City Defendants be awarded their costs of suit incurred in the defense of this

                                                                                                              17   action;

                                                                                                              18             4.       That City Defendants be awarded their reasonable attorneys’ fees incurred in the

                                                                                                              19   defense of this action as permitted by law; and
                                                                                                              20             5.       For such other and further relief as the Court deems just and proper.

                                                                                                              21
                                                                                                                   Dated: October 18, 2022                               BEST BEST & KRIEGER LLP
                                                                                                              22

                                                                                                              23
                                                                                                                                                                         By: /s/ Damian M. Moos
                                                                                                              24                                                             DAMIAN M. MOOS
                                                                                                                                                                             NICHOLAS H. PYLE
                                                                                                              25                                                             DAMIAN A. NORTHCUTT
                                                                                                                                                                              Attorneys for Defendants
                                                                                                              26                                                              THE CITY OF ST. HELENA;
                                                                                                                                                                              PLANNING AND BUILDING
                                                                                                              27                                                              DIRECTOR MAYA DEROSA; MAYOR
                                                                                                                                                                              GEOFF ELLSWORTH; CITY
                                                                                                              28                                                              ATTORNEY ETHAN WALSH
                                                                                                                   83578.00112\40675067.1                                                           3:21-CV-02493 WHO
                                                                                                                                                                     - 50 -                 ANSWER TO FIRST AMENDED
                                                                                                                                                                                                           COMPLAINT
